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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY

LEGAL BAY LLC,
           Plaintiff,
                  v.
 MUSTANG FUNDING, LLC,                     Civ. A. No. 22-3941(ES)(JBC)
 MUSTANG SPECIALTY FUNDING
 I, LLC, MUSTANG SPECIALTY                  Oral Argument Requested
 FUNDING II, LLC, JAMES BELTZ               Motion Day: October 3, 2022
 and KEVIN CAVANAUGH,
           Defendants.



PLAINTIFF’S OMNIBUS MEMORANDUM OF LAW IN OPPOSITION TO
    DEFENDANTS’ MOTION TO DISMISS AND IN SUPPORT OF
            PLAINTIFF’S CROSS-MOTION TO AMEND




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                                 PRELIMINARY STATEMENT

              Plaintiff Legal Bay LLC (“Legal Bay”) instituted this action in state court

        seeking redress for consequences created by defendants’ unlawful conduct, and for

        irreparable harm it suffered from trusting the wrong people to do the right thing.

              In the face of indisputable proof demonstrating their repeated pattern of

        unlawful conduct, Mustang Funding LLC, Mustang Specialty Funding I, LLC,

        Mustang Specialty Funding II, James Beltz, and Kevin Cavanaugh (collectively,

        “Defendants”) improperly attempt to litigate the entirety of this case on a motion to

        dismiss. In so doing, they rely upon self-serving assertions and mischaracterized

        evidence, and in their attempt to distract this Court from three ultimate realities that

        fundamentally undermine their motion: (1) Defendants are subject to personal

        jurisdiction in New Jersey ; (2) Legal Bay’s Complaint exceeds the factual predicates

        required survive a motion to dismiss; and (3) any doubt surrounding the complaint

        can be addressed by granting Legal Bay’s cross-motion to amend.

              Setting aside their improper attempt to fully litigate this matter at the earliest

        stages of this proceeding, Defendants fail to show any merit in their quest to avoid

        liability. Rather, they only succeed in creating a question of material fact that

        precludes granting their motion. For these reasons, along with those discussed at

        length below, this Court should deny Defendants’ motion and grant Legal Bay’s

        cross-motion for leave to amend the complaint.


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                                     STATEMENT OF FACTS

               This matter arises out of a mutually assented to, but unfortunately unwritten,

        joint venture agreement between the parties. Indisputably, this joint pursuit between

        Legal Bay and the Defendants is evidenced by (1) extensive negotiations regarding

        how the joint venture would operate, (Verified Complaint (“Compl.”) ¶¶ 25–39

        (ECF No. 1-1)); (2) the agreed upon contributions of the parties to the joint venture;

        (3) joint property interest; (4) shared right of mutual control or management; (5)

        mutual expectations of profit; (6) the right to participate in those profits; and (7) the

        limitation of the joint venture’s objective to provide private litigation funding. (Id.

        ¶¶ 66–78).

               As set forth in the Complaint, which must be accepted as true on a motion to

        dismiss, the agreed upon terms of the joint venture agreement are based upon written

        and verbal representations by defendants James Beltz and Kevin Cavanaugh during

        the summer of 2018. (Id. ¶ 28). Specifically, Mr. Beltz and Mr. Cavanaugh informed

        Legal Bay that the Defendants would: (1) provide financing for the litigation funding

        business; (2) not enter the litigation funding business as a broker or originator of

        litigation funding matters; and (3) not do business with Legal Bay’s broker, attorney,

        and surgical provider relationships, either existing in the summer and fall of 2018,

        or to be developed after Defendants began financing for the litigation funding

        business. (Id. ¶ 29). In order to solidify the terms of the joint venture, and in an effort


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        to establish well-defined roles, the parties agreed that the sole contact between

        Defendants and anyone referral source generated through Legal Bay would

        bethrough Legal Bay. (Id.).

              Relying on Defendants’ representations, Legal Bay went to great lengths to

        fulfil its obligations to the joint venture. To that end, the parties executed a Line of

        Credit Agreement (“LOCA”) and Legal Bay shared its confidential, proprietary

        information with Defendants. (Id. ¶¶ 40–43, 44–65).

              Based upon Defendants’ representations, the parties repeatedly affirmed their

        obligations with respect to the joint venture. From late 2018 until early 2022, in its

        New Jersey-focused operations alone, the joint venture entered into ninety-seven

        (97) funding contracts to provide financing for plaintiffs and attorneys in connection

        with litigation funding matters in New Jersey state and federal courts. (Id. ¶ 11).

        Beyond New Jersey, Legal Bay and its fellow joint venturers, prepared and funded

        1,680 contracts for individual litigants and attorneys in need of cash flow during the

        pendency of their lawsuits as of March 31, 2022. (Id.). Importantly, many of those

        agreements contain “choice of law provisions,” compelling litigation in New Jersey.

        Thus, at all times during the joint venture, Defendants subjected themselves to the

        laws of the State of New Jersey.

              During what would prove to be the peak of the joint venture’s operations,

        Legal Bay far exceeded expectations and the venture soared. unknown to Legal Bay,


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        however, Defendants were secretly, and methodically, working to undermine Legal

        Bay’s business platform, misappropriate its trade secrets, and deprive Legal Bay of

        its fairly earned profits. (Id. ¶¶ 79–143). Stated differently, Defendants refused to

        uphold the terms of the joint venture agreement once they saw an opportunity to

        proceed in the litigation funding industry without Legal Bay.

              Following consecutive, inexplicable losses during periods where profits

        should have been much higher, Legal Bay investigated and determined that

        Defendants’ actions served as a smokescreen for Defendants’ true motives: to cut

        out Legal Bay completely and deny it the 25% of profits it was entitled to from the

        joint venture by all means necessary. (Id. ¶ 104–06; see also id. ¶¶ 107–119). For

        example, after denying funding for matters that fit squarely within the parameters of

        the joint venture, Defendants subsequently contacted and solicited the persons

        involved in those matters, without Legal Bay’s knowledge, to fund the matters

        without involving Legal Bay. (Id. ¶¶ 105, 106). Notwithstanding their

        unquestionable act of “pushing” Legal Bay out of the opportunities presented by the

        joint venture, Defendants—by or through James Beltz and Kevin Cavanaugh—

        would continue to represent to Legal Bay that no wrongdoing occurred, and that

        Defendants remained invested in the success of the joint venture. (Id. ¶¶ 102–03).

              However, Defendants actions and misrepresentations to Legal Bay resulted in

        diversion of business; degradation of Legal Bay’s reputation; termination of Legal


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        Bay staff due to reduced business; and more. (¶¶ 108–119). In other words,

        Defendants unilaterally destroyed the joint venture, so as to usurp this business

        opportunity for themselves.

                  PROCEDURAL HISTORY AND FACTS ESTABLISHING
                        JURISDICTION OVER DEFENDANTS

              On May 17, 2022, Legal Bay instituted this lawsuit in the Superior Court of

        New Jersey, Chancery Division, Essex County. On June 15, 2022, Defendants filed

        a notice of removal, transferring this Action to the United States District Court for

        the District of New Jersey. (ECF No. 1). Defendants filed this present motion to

        dismiss on July 22, 2022, (ECF No. 19), arguing that the Complaint failed to show

        how this Court holds personal jurisdiction over any of the defendants, that Legal Bay

        insufficiently pleads fraud pursuant to Fed. R. Civ. P. 9(b), and that the Complaint

        otherwise fails to state a claim. (See generally ECF No. 19-1 (Defendants’ Br.

        (“Defs.’ Br.”).

              On the topic of personal jurisdiction, the complaint sufficiently addresses

        Defendants’ systematic and continuous conduct within the State of New Jersey. In

        addition to indicating that the Defendants have funded at least ninety-seven (97)

        matters—a number of which remain active—in New Jersey, (Compl. ¶ 11), the

        “Mustang Entities solicit business from New Jersey plaintiffs, attorneys, and surgical

        centers though internet advertising targeted at New Jersey residents. Through their

        misappropriation and unlawful diversion of [Legal Bay’s] business relationships

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        with New Jersey attorneys and brokers sourcing plaintiffs’ cases pending in New

        Jersey courts, the Mustang Entities regularly do business with and provide litigation

        financing to individuals and entities located in New Jersey.” (Id. ¶ 13). Thus,

        contrary to Defendants’ bald contention that they are not subject to jurisdiction in

        New Jersey, the facts clearly establish that Defendants maintain a continuous and

        systematic presence within the state.

              The Complaint further states that Mr. Beltz and Mr. Cavanaugh have made

        material misrepresentations to Mr. Janish, who Defendants knew was conducting

        business in New Jersey, to induce Legal Bay to become a member of the Joint

        Venture and execute the LOCA. (Id. ¶ 16).

              In response to this motion, Legal Bay has provided the Declaration of Chris

        Janish (“Janish Decl.”) and related exhibits to bolster the proof of this Court’s

        personal jurisdiction over the Defendants. Collectively, the three Mustang Entities,

        as part of the joint venture, funded 97 contracts in New Jersey, the most recent one

        being funded on May 27, 2022. (Janish Decl. ¶¶ 3–4 & Ex. A).

              From early 2018 until 2020, the joint venture—at the request of Defendants—

        included a “Jurisdiction and Governing Law” provision in their funding contracts

        that required “[a]ny controversy, disagreement, cause of action or claim arising

        from, pertaining to or relating to this Agreement,” to be filed in “a federal or state

        court in Essex County, N.J.” (Id. ¶ 5 & Ex. B). These same funding contracts show


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        the Mustang logo next to Legal Bay’s logo on each page of the agreement. (Id. ¶ 6).

        The joint venture only changed this clause to be one requiring arbitration at JAMS

        at the insistence of Mr. Janish because of expediency and cost-efficiency. (Id. ¶ 7).

              James Beltz and Kevin Cavanaugh exercise nearly complete control over the

        operations of the Defendants, (Id. ¶ 9), and their representations not only enticed

        Legal Bay to participate in the joint venture, but also sought to utilize Legal Bay’s

        connections and networks to conduct business in New Jersey. (Id. ¶ 10). Thus, the

        harm they caused has been realized in New Jersey and was specifically directed to

        New Jersey. (Id. ¶¶ 11–12).

              Defendants formed Mustang Specialty Funding I and Mustang Specialty

        Funding II and registered both as businesses in New Jersey for purposes of furthering

        the joint venture’s operations in New Jersey. (Id. ¶ 13 & Ex. C (affidavits of service

        on registered agent in New Jersey)). Defendants advertised the joint venture with

        Legal Bay in New Jersey by placing signs in Legal Bay’s New Jersey office, and

        even marketed Legal Bay as part of the servicing wing of the joint venture. (Id. ¶ 14

        & Ex. D).

              Defendants continue to solicit, as they have for years now, business in New

        Jersey. (Id. ¶ 15). Additionally, they are in regular contact with attorneys and

        individuals in New Jersey about the status of still-active matters the joint venture

        funded. (Id. ¶ 16). This active solicitation of individuals, attorneys, brokers, sub-


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        brokers, and surgical providers in New Jersey are at the behest of Messrs. Beltz and

        Cavanaugh and carried out by the other defendants. (Id. ¶ 15). In this regard, there

        can be no question that each of the Defendants has systematically and continually

        subjected themselves to the laws of the State of New Jersey.

                        LEGAL BAY’S CROSS MOTION TO AMEND
              In an abundance of caution, Legal Bay cross moves to amend its complaint.

        In the months since its initial filing, Legal Bay has uncovered more evidence and

        instances of misfeasance by Defendants, and the proposed Defendant to be added,

        TLFNJ LLC (a business entity conducting business in New Jersey and paying money

        to fund contracts in this state underwritten by Defendants).

              As outlined in the proposed amended complaint, provided with Legal Bay’s

        cross motion papers, (Declaration of Kieran T. Ensor (“Ensor Decl.”), Ex. A), Legal

        Bay wishes to amend for the following reasons:

                 • Defendants and the proposed Defendant misappropriated Legal Bay’s
                   trade secrets under the Dushefend Trade Secrets Act of 2016
                   (“DTSA”), 18 U.S.C. § 1836 et seq. Accordingly, good cause exists to
                   permit amendment.
                 • Legal Bay uncovered that another party, TLFNJ LLC, a limited liability
                   company doing business in New Jersey, and controlled by James Beltz,
                   is responsible for unlawful activity against Legal Bay and the joint
                   venture.
                 • TLFNJ LLC’s actions to date, at a minimum, constitute tortious
                   interference with Legal Bay’s existing and prospective business
                   relationships.




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                                       LEGAL ARGUMENT

        I.    DEFENDANTS’ MOTION SHOULD BE DENIED BECAUSE THIS
              COURT HAS PERSONAL JURISDICTION OVER ALL THE
              DEFENDANTS

              On a motion to dismiss for lack of personal jurisdiction under Federal Rule of

        Civil Procedure 12(b)(2), In order “[t]o meet [its] burden, [a plaintiff] must

        ‘establish[ ] jurisdictional facts through sworn affidavits or other competent

        evidence.’” Cerciello v. Canale, 563 F. App’x 924, 925 n.1 (3d Cir. 2014) (quoting

        Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93, 101 n.6 (3d Cir. 2004)). “Once the

        plaintiff has shown minimum contacts, the burden shifts to the defendant, who must

        show that the assertion of jurisdiction would be unreasonable.” Ameripay, LLC v.

        Ameripay Payroll, Ltd., 334 F. Supp. 2d 629, 633 (D.N.J. 2004) (citing Mellon Bank

        (East) PSFS v. Farino, 960 F.2d 1217, 1226 (3d Cir. 1992)).

               If the Court “does not hold an evidentiary hearing on the motion to dismiss,

        the plaintiff need only establish a prima facie case of personal jurisdiction and the

        plaintiff is entitled to have its allegations taken as true and all factual disputes drawn

        in its favor.” Miller Yacht Sales, Inc, 384 F.3d at 97; Murphy v. Eisai, Inc., 503 F.

        Supp. 3d 207, 213 (D.N.J. 2020).

              “A federal court sitting in New Jersey has jurisdiction over parties to the

        extent provided under New Jersey state law.” Miller Yacht Sales, Inc., 384 F.3d at

        96 (citing Fed. R. Civ. P. 4(e)). “[T]he New Jersey long-arm statute permits the

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        exercise of personal jurisdiction to the fullest limits of due process.” IMO Indus.,

        Inc. v. Kiekert AG, 155 F.3d 254, 259 (3d Cir. 1998) (citations omitted). “Personal

        jurisdiction under the Due Process Clause depends upon the relationship among the

        defendant, the forum, and the litigation.” Id. (internal quotation marks and citation

        omitted).

              “There are two distinct theories under which personal jurisdiction can arise:

        general and specific.” Allaham v. Naddaf, 635 F. App’x. 32, 37–38 (3d Cir. 2015).

        General jurisdiction exists when the defendant’s affiliations with the forum state are

        “so continuous and systematic as to render [it] essentially at home in the forum

        state.” (internal citations and quotations omitted).

              Specific jurisdiction exists over a non-resident defendant where the plaintiff's

        claim “aris[es] out of or relate[s] to the defendant’s contacts with the forum.”

        Daimler AG v. Bauman, 571 U.S. 117, 127 (2014) (quoting Helicopteros Nacionales

        de Colombia, S.A. v. Hall, 466 U.S. 408, 414, n.8 (1984)); see Bristol-Myers Squibb

        Co. v. Superior Court, 137 S. Ct. 1773, 1781 (2017) (“In order for a court to exercise

        specific jurisdiction over a claim, there must be an ‘affiliation between the forum

        and the underlying controversy, principally, [an] activity or an occurrence that takes

        place in the forum State.’ ” (quoting Goodyear Dunlop Tires Operations, S.A. v.

        Brown, 564 U.S. 915, 919 (2011)). Specifically, courts must assess whether a

        defendant “purposefully avail[ed] itself of the privilege of conducting activities


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        within the forum State, thus invoking the benefits and protections of its laws.”

        Hanson v. Denkla, 357 U.S. 235, 253 (1958). A “deliberate targeting” of the forum

        by the defendant(s) is necessary. O’Connor v. Sandy Lane Hotel Co., Ltd., 496 F.3d

        312, 317 (3d Cir. 2007). In other words, the jurisdictional nexus must be the result

        of intentional conduct of a defendant(s). See, e.g., Amberson Holdings LLC v.

        Westside Story Newspaper, 110 F. Supp. 2d 332, 334 (D.N.J. 2000) (internal

        quotation marks omitted).

                 This Court holds specific personal jurisdiction over all the Defendants

        because Legal Bay’s complaint—whose facts were verified by Legal Bay’s CEO,

        Chris Janish—more than sufficiently explain how the defendants have and continue

        to actively conduct business in this state, specifically directed at its citizens.1

                 Contrary to Defendants’ selectively narrow reading of the complaint, (Def.

        Br. at 16 (ECF No. 19-1), the complaint pleads the following about specific personal

        jurisdiction:

              • “In furtherance of their Joint Venture, the Mustang Entities and LB have
                entered into ninety-seven (97) funding contracts to provide financing for
                plaintiffs and attorneys in connection with litigation funding matters in New
                Jersey state and federal courts. As of March 31, 2022, the Mustang Entities
                and LB have entered into 1,680 funding contracts with plaintiffs and attorneys


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          Legal Bay does not waive its assertions that New Jersey courts hold general jurisdiction over the
        Defendants, as adequately pleaded in the Complaint, (Compl. ¶¶ 9–14 (ECF No. 1-1)); however,
        for purposes of this motion, the Complaint and the Janish Declaration outline more than enough
        jurisdictional evidence for this Court to exercise specific personal jurisdiction over all the
        Defendants.

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                 to provide litigation funding in connection with lawsuits pending in various
                 states (including the 97 in New Jersey).” (Compl. ¶ 11 (ECF No. 1-1)).

              • “The Mustang Entities solicit business from New Jersey plaintiffs, attorneys,
                and surgical centers though internet advertising targeted at New Jersey
                residents. Through their misappropriation and unlawful diversion of LB’s
                business relationships with New Jersey attorneys and brokers sourcing
                plaintiffs’ cases pending in New Jersey courts, the Mustang Entities regularly
                do business with and provide litigation financing to individuals and entities
                located in New Jersey.” (Id. ¶ 13).

              • “For the same reasons, and as set forth below, the Mustang Entities’ and the
                Individual Defendants’ contacts with New Jersey and their relationship with
                LB, the Joint Venture and the subject matter of this litigation - all of which
                arise directly out of the Mustang Entities and Individual Defendants sustained
                and regular contacts with LB in New Jersey - subject each of them to specific
                jurisdiction in this State.” (Id. ¶ 15).

              • “This Court holds specific personal jurisdiction over Mr. Beltz and Mr.
                Cavanaugh because they have made material misrepresentations to Mr.
                Janish, who received them in New Jersey, to induce LB to become a member
                of the Joint Venture and execute the LOCA.” (Id. ¶ 16).

              • “The Individual Defendants’ intentional dissemination of false information to
                Mr. Janish and Dr. Caravella, designed to deceive and damage LB in New
                Jersey, provides this Court with specific jurisdiction over Mr. Beltz and Mr.
                Cavanaugh in this State.” (Id.¶ 17).

                 In further support of those same jurisdictional facts, Mr. Janish has also

        submitted a declaration in opposition to this motion, which outlines the following

        facts on jurisdiction:

                    • Defendants and Legal Bay entered into ninety-seven funding contracts
                      for New Jersey lawsuits from 2018 through May 27, 2022. (Janish Decl.
                      ¶¶ 3–4 & Ex. A(spreadsheets pulled from Mighty)).




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                • From 2018 until 2020, at the request of the Defendants, the joint
                  venture’s funding agreements contained a “Jurisdiction and Governing
                  Law” provision in their funding contracts that required “[a]ny
                  controversy, disagreement, cause of action or claim arising from,
                  pertaining to or relating to this Agreement,” to be filed in “a federal or
                  state court in Essex County, N.J.” (Id. ¶ 5).

                • James Beltz and Kevin Cavanaugh exercise nearly complete control
                  over the operations of the defendants, and their representations to Legal
                  Bay about the joint venture and conducting business together was put
                  forward to conduct business in New Jersey. Thus, the harm they caused
                  has been realized in New Jersey. (Janish Decl, ¶ 9–11).

                • Defendants, through Beltz and Cavanaugh, wanted to leverage Legal
                  Bay’s network and connections so that the joint venture could conduct
                  business in New Jersey. (Id. ¶ 10).

                •    Defendants formed Mustang Specialty Funding I and Mustang
                    Specialty Funding II and registered both as businesses in New Jersey
                    for purposes of furthering the joint venture’s operations in New Jersey.
                    (Id. ¶ 13 & Ex. C).

                • Defendants advertised the joint venture with Legal Bay in New Jersey
                  by placing signs in Legal Bay’s New Jersey office, and even marketed
                  Legal Bay as part of the servicing wing of the joint venture. (Id. ¶ 14 &
                  Ex. D).

                • Defendants continue to solicit, as they have for years now, business in
                  New Jersey New Jersey citizens about funding their lawsuits. (Id. ¶
                  15).

                • They are in regular contact with attorneys and individuals in New
                  Jersey about the status of still-active matters the joint venture funded.
                  (Id. ¶ 16).

                • The solicitation of individuals, attorneys, brokers, sub-brokers, and
                  surgical providers in New Jersey is at the direction of Beltz and
                  Cavanugh. (Id. ¶ 15).


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                 Additionally, the historic operation of the joint venture, as outlined in the

        complaint and supporting evidence with this opposition, unquestionably prove that

        Defendants knowingly subjected themselves to jurisdiction in this state for all

        claims, such as those pleaded in this case, involving Defendants’ legal funding

        activities, business ventures, and commercial activity related to the industry in this

        state.

                 “Under New Jersey law, “the ‘minimum contacts' requirement is satisfied so

        long as the contacts resulted from the defendant's purposeful conduct and not the

        unilateral activities of the plaintiff.” SalandStacy Corp. v. Freeney, No. 11-3439,

        2012 WL 959473, *6 (D.N.J. Mar. 21, 2012) (citing Blakely v. Cont'l Airlines, 164

        N.J. 38, 67 (N.J. 2000)). Further, where a plaintiff’s “supplemental Affidavit is even

        more specific with respect to Defendants' purposeful conduct[,]” the Court has

        specific personal jurisdiction. Id. Legal Bay’s Complaint and supporting declaration

        does just that do just that.

                 Therefore, the Court should deny Defendants motion to dismiss under Fed. R.

        Civ. P. 12(b)(2).




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        II.   DEFENDANTS’ MOTION SHOULD BE DENIED BECAUSE LEGAL
              BAY STATES CLAIMS FOR ALL COUNTS IN THE COMPLAINT.

              A.     Legal Bay’s Complaint Surpasses Rule 9(b)’s Heightened Pleading
                     Standard for the Fraud in the Inducement Claim

              “Rule 9(b) dictates that a plaintiff pleading fraud must state with particularity

        the circumstances constituting fraud or mistake.” Kavon v. BMW of N. Am., ___ F.

        Supp. 3d ____, No. 20-15475, 2022 WL 1830797, *13 (D.N.J. June 3, 2022). “The

        Third Circuit has interpreted this standard as requiring a plaintiff to plead ‘(1) a

        specific false representation [or omission] of material fact; (2) knowledge by the

        person who made it of its falsity; (3) ignorance of its falsity by the person to whom

        it was made; (4) the intention that it should be acted upon; and (5) that the plaintiff

        suffered an ascertainable loss as a result of the misrepresentation.’ ” Id. (quoting

        Alban v. BMW of N. Am., LLC, No. 09-5398, 2010 WL 3636253, *9 (D.N.J. Sept. 8,

        2010)). “Courts must be sensitive to the fact that application of Rule 9(b) prior to

        discovery ‘may permit sophisticated defrauders to successfully conceal the details

        of their fraud.’ ” Craftmatic Sec. Litig. v. Kraftsow, 890 F.2d 628, 645 (3d Cir. 1989)

        (quoting Christidis v. Pennsylvania Mortgage Trust, 717 F.2d 96, 99–100 (3d Cir.

        1983)).

              Fraud in the inducement imposes liability where the tortious conduct of a

        defendant(s) results in harm to a plaintiff after formation of an agreement. See, e.g.,

        Bracco Diag., Inc. v. Bergen Brunswig Drug Co., 226 F. Supp. 3d 557, 562 (D.N.J.


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        2002). In other words, the fraud must be “extrinsic” to the contract’s performance.

        Id. “Illustrating with the example of fraud, to break a promise is to breach a

        contractual duty; to falsely state that one intends to honor a promise is a misstatement

        of present fact and breaches a separate and extraneous duty not to commit fraud.”

        Id.

              Defendants attempt to argue that the Complaint does not identify specifics

        about the fraud alleged. (Def. Br. at 23–25). This argument simply ignores great

        portions of the factual narrative that explain their unlawful conduct. Indeed, the

        complaint is replete with examples of specific misrepresentations by Defendants to

        Legal Bay that caused damage. For example, the Complaint details specific

        representations, written and verbal, by Beltz and Cavanaugh during the summer of

        2018 where they stated that they intended to form a litigation funding joint venture

        with Legal Bay. (Compl. ¶ 28). Specifically, the Complaint details the “who, what,

        and when” of Defendants’ fraud, stating:

                     Mr. Beltz and Mr. Cavanaugh each told Mr. Janish and Dr.
                     Caravella that Newco. would provide financing for LB’s
                     litigation funding business. The Individual Defendants
                     informed Mr. Janish and Dr. Caravella that Newco. —
                     which, when formed, became the three Mustang Entity
                     defendants—would: (a) provide financing for the LB’s
                     litigation funding business; (b) not enter the litigation
                     funding business as a broker or originator of litigation
                     funding matters; and (c) not do business with LB’s broker,
                     attorney, and surgical provider relationships, either existing
                     in the summer and fall of 2018, or to be developed after


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                     Newco. began providing financing for LB’s litigation
                     funding business, other than through LB.
        (Id. ¶ 29).
               Relying on these representations, Legal Bay went to great lengths to position

        itself to fulfil its obligations in the proposed joint venture—including sharing

        confidential, proprietary information with Defendants. (Id. ¶¶ 40–43, 44–65). Legal

        Bay had no idea that Defendants falsely represented their intentions.

              Unquestionably, Defendants’ fraudulent inducement, as the Complaint

        explains, has resulted in irreparable harm, and both tangible and intangible

        damage—both of which are ascertainable. (Id. ¶¶ 101–111, 112–119, 120–143).

        Thus, Legal Bay’s Complaint far exceeds the requirements of Rule 9(b)—even at

        this pre-discovery stage.

              In light of the foregoing, there can be no question that Legal Bay has pled its

        claims with the requisite specificity, and, the Court should deny Defendants’ motion

        on this ground.

              B.     Legal Bay Plausibly Pleads Causes of Action for All Remaining
                     Counts.

              Under Fed. R. Civ. P. 8(a)(2), a sufficient complaint need only set forth “a

        short and plain statement of the claim showing that the pleader is entitled to relief.”

        When adjudicating a motion to dismiss, courts in the Third Circuit assess the

        elements a plaintiff must plead to state a claim, do not presume threadbare or

        conclusory assertions, and “assume the veracity” of all well-pleaded factual


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        allegations. Oakwood Labs. LLC v. Thanoo, 999 F.3d 892, 904 (3d Cir. 2021). “In

        addition to assuming the veracity of ‘all reasonable inferences that can be drawn

        from’ those allegations, [courts construe] the allegations and reasonable inferences

        ‘in a light most favorable to the [plaintiff.]’ ” Id. (internal citations omitted); see also

        Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556, (2007) (“[A] well-pleaded

        complaint may proceed even if it strikes a savvy judge that actual proof of those

        facts alleged is improbable and that a recovery is very remote and unlikely” (internal

        quotations omitted)).

                      1.      Legal Bay Sufficiently States Claims for Relief Related to the
                              Joint Venture Formed Between the Parties.

                              a.     Count One
               In a clear attempt to avoid the consequences of their breach of the parties’ oral

        agreement, Defendants “cherry pick” statements contained in one email, without

        discussing any surrounding context. Certainly, on a motion to dimisss, where facts

        remain disputed, a single email—among thousands exchanged—cannot be

        dispositive. If anything, it demonstrates that disputed issues of material fact preclude

        the entry of judgment in anyone’s favor at this time. 2




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          Indeed, Mr. Janish’s declaration contests the characterization of the email by Defendants. That
        email was in reference to the continuous efforts by Defendants to stall the completion of a
        formalized agreement. (Janish Decl. ¶ 8).

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              Notwithstanding Defendants’ unpersuasive attempt to avoid liability, New

        Jersey law clearly supports the concept of an oral joint venture agreements. A joint

        venture is “ ‘an undertaking usually in a single instance to engage in a transaction of

        profit where the parties agree to share profits and losses.’ ” Wittner v. Metzger, 72

        N.J. Super. 438, 444, (App. Div. 1962) (quoting Kurth v. Maier, 133 N.J. Eq. 388,

        391 (E. & A. 1943)), certif. den’d, 37 N.J. 228 (1962); accord Read v. Profeta, 397

        F. Supp. 3d 597, 634 (D.N.J. 2019).

              “A joint venture ordinarily has some or all of the following elements: (1) a

        contribution by the parties of money, property, effort, knowledge, skill or other

        assets to a common undertaking; (2) a joint property interest in the subject matter of

        the venture; (3) a right of mutual control or management of the enterprise; (4) an

        expectation of profit; (5) the right to participate in profits; and (6) limitation of the

        objective to a single undertaking.” Read v. Profeta, 397 F. Supp. 3d 597, 634 (D.N.J.

        2019). “The sine qua non of joint venture is a contract purposefully entered into by

        the parties. The joint venture is not a status created or imposed by law but is a

        relationship voluntarily assumed and arising wholly ex contractu, express or

        implied.” Sullivan v. Jefferson, Jefferson & Vaida, 167 N.J. Super. 282, 289 (App.

        Div. 1979). “The ‘basic criterion of a joint venture’ is ‘the voluntary agreement of

        the parties to form a relationship with the intent to create a joint venture.’ ” Read,

        397 F. Supp. 3d at 634 (quoting Sullivan, 167 N.J. Super. at 290).


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               “It is true that ‘the joint venture relationship may be less formal’ and ‘may be

        implied wholly or in part from the acts and conduct of the parties.’ ” Id. (internal

        citation omitted). “Whether or not the parties to a particular contract have, as

        between themselves, created the relationship of a joint venture depends upon their

        intention [. . .] That is, for a joint venture to have been formed, the parties must have

        agreed upon the essential terms.” Id. (cleaned up).

               Indisputably, the facts in Legal Bay’s Complaint demonstrate that the parties

        formed and operated an unwritten joint venture agreement. The parties extensively

        negotiated how the joint venture would operate, evidenced by phone calls, emails,

        verbal representations, and other items. (Compl. ¶¶ 25–39). This speaks to the

        intention of the parties and demonstrates the existence of a joint venture.

               The Complaint also extensively explains actions undertaken by both parties

        to further the ends of the joint venture. (Id. ¶¶ 44–65). The Complaint also outlines

        the contribution of the parties to the joint venture, the joint property interest, the right

        of mutual control or management, expectations of profit, the right to participate in

        those profits, and the limitation of the venture’s objective to a single undertaking—

        litigation funding. (Id. ¶¶ 66–78).

               On a motion to dismiss, all facts in the complaint must be accepted as true,

        unless conclusively or definitively contradicted by documentary evidence.

        Unfortunately for Defendants, a single email—taken out of context, among


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        thousands exchanged over a multi-year period—fails to disprove (conclusively or

        otherwise) Legal Bay’s claims. Accordingly, Defendants’ motion should be denied.

                           b.     Count Two

              The Complaint adequately pleads entitlement to a dissolution and distribution

        of equitable percentages of the joint venture’s profits. A Court sitting in equity

        possesses the inherent power to supervise the dissolution of a joint venture under

        New Jersey law. Ditscher v. Booth, 13 N.J. Super. 568, 571 (Ch. Div. 1951).

        Because New Jersey courts generally do not draw a distinction between partnerships

        and joint ventures, Chiron Corp. v. Dir., Div. of Taxation, 21 N.J. Tax 528, 541 (Tax

        2004), the rules of dissolution of partnerships apply to joint ventures. Kozlowski v.

        Kozlowski, 164 N.J. Super. 162, 171 (Ch. Div. 1978), aff’d, 80 N.J. 378 (1979).

              Applying statutory defaults to this unwritten joint venture, Section 39(e) of

        New Jersey’s Revised Uniform Partnership Act (“RUPA”) , N.J.S.A. § 42:1–1 to –

        49, a court may order a dissolution where one partner has engaged in conduct relating

        to the partnership which makes it unreasonable to carry on the business of the

        partnership with that partner. N.J.S.A. § 42:1A–39(e)(2). Additionally, the Court

        holds the equitable power to dissolve a partnership, distribute its assets, and order

        an accounting. Fishman v. Raphael & Fishman, 141 N.J. Eq. 576 (Ch. Div. 1948).

              Here, Count Two of the Complaint outlines why a dissolution is necessary:

        Defendants have engaged in conduct related to the joint venture that is harmful to


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        Legal Bay and renders it unreasonable to carry on the business of the joint venture.

        (Compl. ¶ 153). Therefore, Defendants motion should be denied on this count.

                           c.     Count Three

              “An accounting in equity cannot be demanded as a matter of right or of course.

        The exercise of equitable jurisdiction to compel an account rests upon three

        grounds—first, the existence of a fiduciary of trust relation; second, the complicated

        nature or character of the account; and third, the need of discovery.” Borough of

        Kenilworth v. Graceland Memorial Park Ass'n, 124 N.J. Eq. 35, 37 (N.J. Ch. Ct.

        1938); accord SalandStacey Corp., 2012 WL 959473 at *12.

              At the outset, under New Jersey law, parties involved in a joint venture owe

        fiduciary duties to one another. Lo Bosco v. Kure Eng’g Ltd., 891 F. Supp. 1020,

        1033 (D.N.J. 1995). Second, the complicated nature of the account in question here

        speaks for itself—the Complaint alleges that Legal Bay has been deprived of funds

        it is entitled to due to the obfuscation and secrecy involved in the keeping of the

        account by Defendants related to the joint venture. (Compl. ¶ 161). As to the third

        element, the need to discover the value is critical to equitably distributing to Legal

        Bay its share of the joint venture’s assets. Lastly, because the Court can order an

        accounting as part of a dissolution of a joint venture, as explained, the Complaint

        satisfies the requirements for obtaining an accounting.

              Therefore, Defendants’ motion should be denied on this count.


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                            d.    Count Four

                The lack of a written contract does not preclude a finding that Defendants

        breached the joint venture agreement. In fact, merely because there are “business

        arrangements involving significant sums being conducted on [] general terms

        without the benefit of a written understanding [. . .] does not prevent the Court from

        determining whether there has been a breach of the alleged agreement or from

        fashioning a remedy.” Lo Bosco, 891 F. Supp. at 1027.

                The Complaint thoroughly outlines how Defendants breached the joint

        venture agreement formed between them. In addition to explaining the rights and

        obligations of all joint venture members during its operation, (Compl. ¶¶ 44–78), the

        Complaint, in the section entitled “E. Defendants’ Wrongdoing and Plaintiff’s

        Irreparable Harm”, the Complaint details the instances of misfeasance and failure

        to uphold the terms of the joint venture agreement by the Defendants. (Id. ¶¶ 79–

        143).

                In light of the extraordinary detail addressing the terms of the parties’

        agreement and Defendants breaches thereof, it strains credulity for Defendants to

        assert that Legal Bay fails to plausibly state a claim under Count Four. Accordingly,

        Defendants motion should be denied.




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                           e.     Count Five

              The Complaint sufficiently pleads allegations of breaches of fiduciary duties

        stemming from the joint venture. “There can be no question that joint venturers owe

        each other a fiduciary duty.” Lo Bosco, 891 F. Supp. at 1033. “The relation of joint

        adventurers ... is fiduciary, one of trust and confidence, calling for the utmost good

        faith, permitting of no secret advantages or benefits.” Bowne v. Windsor, 106 N.J.

        Eq. 415, 416 (Ch. Div. 1930), aff'd, 108 N.J. Eq. 274 (E. & A. 1931). “[T]he cases

        applying this doctrine [of fiduciary duties among members of a joint venture] all

        concern one joint venturer profiting at the other's expense.” Lo Bosco, 891 F. Supp.

        at 1033.

              “Claims for breach of fiduciary duty require: 1) the existence of a fiduciary

        duty or relationship between the parties; 2) breach of that duty; and 3) resulting

        damages.” Read, 397 F. Supp. 3d at 633 (internal citation omitted).

              Here, Legal Bay sufficiently pleads a breach of fiduciary duties by

        Defendants. As explained, the Complaint plausibly shows the existence of a joint

        venture—meaning that the first element of a breach claim cannot be contested in this

        motion. Second, the body of the Complaint repeatedly outlines the breaches of duties

        owed. (Compl. ¶¶ 79–143 & 153). Count Five itself also details what exactly those

        duties owed were. (Id. ¶ 172). Lastly, the complaint sufficiently alleges the damages

        stemming from the breach of fiduciary duties. (Id. ¶¶ 173–77).


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              Further the claim is not barred by the economic loss doctrine. The Economic

        Loss Doctrine does not preclude tort liability for parties to a contract where “the

        breaching party owes an independent duty imposed by law.”             Saltiel v. GSI

        Consultants, Inc., 170 N.J. 297, 316–17 (2002) (citing New Mea Constr. Corp. v.

        Harper, 203 N.J. Super. 486, 493 (App. Div. 1985)). As outlined above, New Jersey

        law imposes a duty upon Defendants independent of any contract between the

        parties, and Defendants owed separate, fiduciary obligations to Legal Bay which the

        complaint alleges they failed to uphold.

              Therefore, the motion should be denied on this Count.

                     2.    Legal Bay Sufficiently Pleads a Claim for Breach of Contract
                           under the LOCA

               Defendants breached the LOCA and their arguments about notice

        requirements produce a question of fact, warranting denial of the motion. The LOCA

        is controlled by New York law under a choice of law provision.

              “Under New York law, the essential elements of a breach-of-contract cause

        of action are the existence of a contract, the plaintiff's performance pursuant to the

        contract, the defendant's breach of its contractual obligations, and damages resulting

        from the breach.” Innovative Biodefense, Inc. v. VSP Tech., Inc., 176 F. Supp. 3d

        305, 317 (S.D.N.Y. 2016). A party is relieved of its duty to perform under a contract

        when the other party has committed a material breach. Franklin Pavkov Constr. Co.



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        v. Ultra Roof, Inc., 51 F. Supp. 2d 204, 215 (N.D.N.Y. 1999). For a breach to be

        considered material, it must go to the root of the agreement between the parties. Id.

               Here, the Complaint does allege that Defendants have breached the non-

        solicitation provision of the LOCA. (Compl. ¶¶ 195–96). Additionally, however, the

        Complaint also shows that the LOCA agreement was a by-product of the joint

        venture. (See id. ¶ 63). The material breach of the joint venture agreement is, by

        extension, a material breach of the LOCA because performance under the LOCA

        goes to the root of the joint venture agreement. Defendants’ wrongful solicitation of

        matters derived from Legal Bay’s confidential lists, without involving Legal Bay,

        constitutes a material breach of the joint venture agreement and the LOCA, too.

               As a result, Legal Bay was alleviated of its right to perform under any of the

        terms of the LOCA. Thus, it did not need to follow the notice provision for

        terminating the LOCA. Defendants’ conduct violates the LOCA and they are not

        alleviated from adhering to its terms because of their breach.

               Therefore, Legal Bay has adequately pleaded a cause of action for breach of

        the LOCA. Alternatively, the Court should grant Legal Bay leave to amend and

        further clarify this count.

        III.   GOOD CAUSE EXISTS TO PERMIT LEGAL BAY TO AMEND ITS
               OPERATIVE COMPLAINT IN THIS MATTER.

               Should the Court find that any aspect of the Complaint is deficient—which it

        should not—the Court should grant Legal Bay’s cross-motion for leave to file an

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        amended Complaint. The Third Circuit liberally permits the amendment of pleadings

        to ensure that a particular claim will be decided on its merits rather than on

        technicalities. Dole v. Acro Chem. Co., 921 F.2d 484, 487 (3d Cir. 1990); see Foman

        v. Davis, 371 U.S. 178, 182 (1962) (The grant of a motion to amend is within the

        discretion of the District Court). Federal Rule of Civil Procedure 15(a)(2) permits a

        party to amend when justice so requires. Fed. R. Civ. P. 15(a)(2)

              Federal Rule of Civil Procedure 15(a) and Local Rule of Civil Procedure 15.1

        govern a party's request for leave to amend a complaint and states, in pertinent part,

        that a party may amend its complaint after obtaining the Court's leave. Fed. R. Civ.

        P. 15 (a)(2); L. Civ. R. 15.1; see also Rivera v. Valley Hospital, Inc., No. 15-5704,

        2017 WL 916436, *2 (D.N.J. Mar. 8, 2017) (internal citation omitted). “Under these

        rules, the court should freely give leave when justice so requires.” Wise v. Hickman,

        No. 18-12994, 2020 WL 6375788, *6 (D.N.J. Oct. 30, 2020) (Dickson, M.J. (ret.)).

        “This standard ensures that claims will be decided on their merits rather than on mere

        technicalities.” Id. (citing Dole, 921 F.2d at 487).

              “The United States Court of Appeals for the Third Circuit interprets that

        mandate as requiring that the District Court grant leave to amend in the absence of

        (a) unfair prejudice, (b) futility of amendment, (c) undue delay, (d) bad faith, or (e)

        dilatory motive.” Id. (citing Grayson v. Mayview State Hosp., 293 F.3d 103, 107–08

        (3d Cir. 2002)).


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              This Court should grant Legal Bay leave to amend its complaint. Legal Bay

        wishes to assert additional facts based upon its ongoing investigation into the

        circumstances present here. It additionally wishes to conform its pleading to this

        Court’s rules. Also, new, material facts have been uncovered which bolster Legal

        Bay’s claims and underpin its new claims, conclusively assuaging futility concerns.

              Further, Defendants suffer no prejudice from permitting Legal Bay to amend

        because they have not filed an answer in this case or conducted discovery. To that

        end, amendment will not produce undue delay in this case because the initial

        scheduling remains upcoming as of the date of this filing and no scheduling orders

        have been entered.

              Finally, Legal Bay does not seek to amend in bad faith or for a dilatory motive:

        it wishes only to ensure that its claims can be heard on the merits in this Court and

        not hounded by those wishing to waste this Court’s time by feigning technicalities.

              Therefore, the Court should grant Legal Bay’s cross-motion to amend.

                                         CONCLUSION

              For the reasons above, Plaintiff, Legal Bay LLC requests that the Court deny

        Defendant’s Motion, ECF No. 19, and grant Legal Bay’s cross-motion to amend.




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        Dated: August 31, 2022             By: ______________________

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